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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

__________________________________________x
UNITED STATES OF AMERICA,                 :
      Plaintiff,                          :               case no. 1:19-cr-696-PAE
                                          :
v.                                        :
                                          :
ARI TEMAN,                                :
      Defendant.                          :
__________________________________________x

             WAIVER OF APPEARANCE FOR ARRAIGNMENT

      Defendant, ARI TEMAN, pursuant to Fed. R. Crim. P. 10(b) waives my

appearance at my arraignment on the indictment (Doc. # 9) in the above-

styled case. I, ARI TEMAN, am charged by indictment with one offense under

the United States Code, to wit: bank fraud (18 U.S.C. § 1344).

      I have received a copy of the indictment and plead NOT GUILTY to the

charged offense.

      I am aware that I have the right under Rule 10 of the Federal Rules of

Criminal Procedure to be present in court for my arraignment. I waive my

right to appear in court at my arraignment.


________________
 10/14/2019                   ____________________________________
Date                          ARI TEMAN

 10-15-2019
________________              /s/ Joseph A. DiRuzzo, III Digitally
                              ____________________________________
                                                                   signed by /s/ Joseph A. DiRuzzo, III
                                                         Date: 2019.10.15 12:24:22 -04'00'

Date                          Joseph A. DiRuzzo, III


___   Waiver Approved
___   Waiver Denied
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________________            ____________________________________
Date                         Judicial Officer (Signature)
